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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                        CASE NO.: 0:16cv62570

  RAQUEL PISTOCCHI,

         Plaintiff,

  v.

  FINANCIAL BUSINESS AND CONSUMER
  SOLUTIONS, INC.,

        Defendant.
  _______________________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL
                             INJUNCTIVE RELIEF SOUGHT

         Plaintiff RAQUEL PISTOCCHI (“Plaintiff”), by and through undersigned counsel, seeks

  redress for the illegal practices of Defendant FINANCIAL BUSINESS AND CONSUMER

  SOLUTIONS, INC. (“Defendant”), to wit, for Defendant’s violations of 47 U.S.C. § 227, the

  Telephone Consumer Protection Act. and 15 U.S.C §1692, the Fair Debt Collection Practices Act,

  and in support thereof, Plaintiff states the following:

                                        NATURE OF ACTION

  I.     THE TELEPHONE CONSUMER PROTECTION ACT

         1.      The TCPA prohibits "any person within the United States … to make any call (other

  than a call made for emergency purposes or made with the prior express consent of the called

  party) using any automatic telephone dialing system or an artificial or prerecorded voice … to any

  telephone number assigned to a paging service, cellular telephone service, specialized mobile radio

  service, or other radio common carrier service, or any service for which the called party is charged

  for the call . . ." 47 U.S.C. § 227(b)(1)(A).

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         2.      The TCPA defines "automatic telephone dialing system" or "ATDS" as "equipment

  which has the capacity - (A) to store or produce telephone numbers to be called, using a random

  or sequential number generator; and (B) to dial such numbers." 47 U.S.C. § 227(a)(1).

         3.      The TCPA provides for a private right of action under which persons and entities

  may obtain injunctive or monetary relief for violations of the Act, including statutory damages of

  $500 per violation. Id. § 227(b)(3). Statutory damages may be trebled if the violator is found to

  have acted willfully or knowingly. Id.

  II.    THE FAIR DEBT COLLECTION PRACTICES ACT

         4.      The Fair Debt Collection Practices Act (the “FDCPA”) is a series of statutes which

  prohibits a catalog of activities in connection with the collection of debts by third parties. See 15

  U.S.C. §1692. Congress enacted the FDCPA to regulate the collection of consumer debts by debt

  collectors. The express purposes of the FDCPA are to “eliminate abusive debt collection practices

  by debt collectors, to insure [sic] that debt collectors who refrain from using abusive debt collection

  practices are not competitively disadvantaged, and to promote consistent State action to protect

  consumers against debt collection abuses.” 15 U.S.C. § 1692(e).

         5.      In enacting the FDCPA, the United States Congress found that “[t]here is abundant

  evidence of the use of abusive, deceptive, and unfair debt collection practices by many debt

  collectors,” which “contribute to the number of personal bankruptcies, to marital instability, to the

  loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692(a). Congress additionally

  found existing laws and procedures for redressing debt collection injuries to be inadequate to

  protect consumers. 15 U.S.C. § 1692(b).

         6.      The FDCPA imposes civil liability on any person or entity that violates its

  provisions, and establishes general standards of debt collectors and provides for specific consumer



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  rights. 15 U.S.C. §1692k. The operative provisions of the FDCPA declare certain rights to be

  provided to or claimed by debtors, forbid deceitful and misleading practices, prohibit harassing

  and abusive tactics, and proscribe unfair or unconscionable conduct, both generally and in a

  specific list of disapproved practices.

         7.      Section 1692b of the FDCPA states, inter alia, that:

                 Any debt collector communicating with any person other than the
                 consumer for the purpose of acquiring location information about
                 the consumer shall… not communicate with any such person more
                 than once unless requested to do so by such person or unless the debt
                 collector reasonably believes that the earlier response of such person
                 is erroneous.

  15 U.S.C. § 1692b(3).

         8.      Section 1692d of the FDCPA prohibits the use of “any conduct the natural

  consequence of which is to harass, oppress, or abuse any person in connection with the collection

  of a debt” 15 U.S.C. § 1692d. The six subsections of § 1692d set forth a non-exhaustive list of

  practices that fall within this ban, including, but not limited to: “[c]ausing a telephone to ring or

  engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

  abuse, or harass any person at the called number. 15 U.S.C. § 1692d(5).

         9.      As set forth in more detail below, Defendant has violated the aforementioned

  provisions of the TCPA and FDCPA, and as a result, Plaintiff seeks damages and/or injunctive

  relief for the same.

                                   JURISDICTION AND VENUE

         10.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C § 1331, and

  28 U.S.C § 1337.

         11.     Venue in this District is proper because Plaintiff resides here, Defendant transacts

  business here, and the complained conduct of Defendant occurred here.

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                                                PARTIES

          12.     Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

  County, Florida.

          13.     Plaintiff is the holder and subscriber, with dominion and control, over a cellular

  telephone assigned the number ending in “9103.”

          14.     Defendant is a Pennsylvania corporation, with its principal place of business

  located in Hatboro, Pennsylvania.

          15.     On information and belief, Defendant engages in interstate commerce by regularly

  using telephone and mail in a business whose principal purpose is the collection of debts.

          16.     At all times material, Defendant was acting as a debt collector in respect to the

  collection of Plaintiff’s debts.

                                     FACTUAL ALLEGATIONS

          17.     Defendant and/or its agents called Plaintiff’s cellular telephone an egregious

  number of times within the four years immediately preceding the filing of this Complaint.

          18.     On a date better known by Defendant, without Plaintiff’s knowledge or consent,

  Defendant commenced its incessant calling campaign in an attempt to locate and/or collect a debt

  from an individual other than Plaintiff, to wit, Ronald Douphin (the “Third-Party”).

          19.     In attempting to collect the aforementioned debt (the “Third-Party’s Debt”),

  Defendant regularly called Plaintiff’s cellular telephone.

          20.     Plaintiff has not, at any time material hereto, provided her cellular telephone

  number to Defendant for the purpose which Defendant was calling, nor did Plaintiff consent to

  Defendant calling his cellular telephone.

          21.     On information and belief, the Third-Party’s Debt incurred such debt primarily for



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  personal, family, or household purposes.

          22.     On information and belief, The Third-Party’s Debt is a “debt” governed by the

  FCCPA. See 15 U.S.C §1692a(5).

          23.     On information and belief, The Third-Party is a “consumer” within the meaning of

  the FDCPA. See 15 U.S.C §1692a(3).

          24.     Defendant is a “debt collector” as defined by the FDCPA. See 15 U.S.C §1692a(6).

          25.     Defendant utilized an ATDS and/or an artificial/prerecorded voice message when

  it and/or its agents called Plaintiff, in that:

                  (a)      Defendant’s use of an ATDS to call Plaintiff is evidenced by, including but

                           not limited to, the distinct pause regularly noticed by Plaintiff – whereby

                           when Plaintiff would answer Defendant and/or its agent’s telephone call,

                           there was a noticeable pause before Defendant and/or its agent would begin

                           speaking; and

                  (b)      Defendant’s use of pre-recorded messages and/or calls made by an ATDS

                           is exemplified by, including but not limited to, voicemails Defendant left

                           for on Plaintiff’s cellular telephone.

          26.     Defendant, by and through the utilization of an artificial/prerecorded voice, has

  repeatedly left voicemails on Plaintiff’s cellular telephone.

          27.     In the moments prior to leaving the aforementioned voicemails, Plaintiff’s

  automated voicemail system prompted Defendant that the telephone number dialed by Defendant

  was owned by Plaintiff, e.g., “You have reached the voicemail of Raquel Pistocchi.”

          28.     Defendant’s repeated and intrusive calls came with such frequency, to the point

  where Plaintiff felt constantly harassed.



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          29.     Plaintiff has repeatedly told Defendant that she is not Ronald Douphin and to cease

  placing calls to her cellular telephone.

          30.     On information and belief, the total number of calls received by Plaintiff from

  Defendant, whereby Defendant otherwise sought to communicate with the Third-Party, is at least

  40 calls.

          31.     Despite Plaintiff’s repeated demands, Defendant continued to place, automatically

  dialed telephone calls and/or artificial/prerecorded calls to Plaintiff’s cellular telephone.

          32.     As of the filing of this action, Defendant’s willful and knowing practice of placing

  numerous and repeated automatically dialed or prerecorded telephone calls to Plaintiff’s cellular

  telephone continues unabated.

                                           COUNT I
                                    VIOLATION OF THE TCPA

          33.     Plaintiff incorporates by reference paragraphs 17-32 of this Complaint as though

  fully stated herein.

          34.     The TCPA provides, in relevant part:

                  It shall be unlawful for any person within the United States... to
                  make any call (other than a call made for emergency purposes or
                  made with the prior express consent of the called party) using any
                  automatic telephone dialing system or an artificial or prerecorded
                  voice ... to any telephone number assigned to a paging service,
                  cellular telephone service ... or any service for which the called party
                  is charged for the call.

  47 U.S.C. § 227(b)(1)(A)(iii).

          35.     Defendant and/or its agents placed at least 40 unsolicited telephone calls to Plaintiff

  cellular phone without Plaintiff’s prior consent and utilized an ATDS and/or an

  artificial/prerecorded voice message in making such calls.

          36.     Because Plaintiff’s voicemail system informed callers that the number the caller

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  dialed belongs to Plaintiff, at the very minimum, all calls Defendant made to Plaintiff’s cellular

  phone after leaving the aforementioned voicemail were made full-well knowing that Defendant

  was not calling the Third-Party, but rather, Plaintiff.

         37.     Even after receiving unequivocal instructions/information to the contrary, to wit, to

  stop calling Plaintiff and/or that the number dialed was not that of the Ronald Douphin, Defendant

  has placed, and continues to place egregious number of daily calls to Plaintiff using an automatic

  telephone dialing system or an artificial or prerecorded voice.

         38.     In light of the preceding, Defendant violated 47 U.S.C. § 227 (b)(1)(A)(iii), and as

  a result, Plaintiff suffered actual damages in the form of monies paid to receive unsolicited

  telephone calls.

         39.     Plaintiff seeks an Order under §227(b)(3)(B) awarding a minimum of $500.00 in

  damages for each of Defendant’s violations of the TCPA. See Alea London Ltd. v. Am. Home

  Servs., Inc., 638 F.3d 768, 776 (11th Cir.20110) (stating that the TCPA is essentially a strict

  liability statute that does not require any intent except when awarding treble damages).

         40.     Alternatively, pursuant to §227(b)(3)(C) of the TCPA, the Court can award treble

  damages ($1,500.00) for each willful and knowingly violation of the TCPA committed by

  Defendant.

         41.     As set forth above, Defendant continued to call Plaintiff’s cellular telephone after

  Plaintiff had advised Defendant that she (Plaintiff) was not the Third-Party, after Defendant heard

  Plaintiff’s voicemail greeting, and after otherwise being told Defendant to stop calling.

         42.     Therefore, the Court should award treble damages ($1,500.00) for each violation of

  the TCPA committed by Defendant because such violations were committed willfully or

  knowingly, as well as enjoining Defendant’s unlawful telephone calling activities pursuant to



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  §227(b)(3)(A) of the TCPA.

                                          COUNT II.
                                   VIOLATION OF THE FDCPA

          43.     Plaintiff incorporates by reference paragraphs 17-32 of this Complaint as though

  fully stated herein.

          44.     The FDCPA is a strict liability statute. Taylor v. Perrin, Landry, deLaunay &

  Durand, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes strict liability, a consumer need

  not show intentional conduct by the debt collector to be entitled to damages.” Russell v. Equifax

  A.R.S., 74 F. 3d 30 (2d Cir. 1996); See also Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th

  Cir. 2000) (holding unintentional misrepresentation of debt collector's legal status violated

  FDCPA).

          45.     The FDCPA is a remedial statute, and therefore must be construed liberally in favor

  of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The remedial

  nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit & Collection

  Services, Inc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending

  Act [15 U.S.C §1601], is a remedial statute, it should be construed liberally in favor of the

  consumer.” Johnson v. Riddle, 305 F. 3d 1107 (10th Cir. 2002).

          46.     In determining whether a debt collector has violated the FDCPA, the debt

  collector’s actions are considered through the least sophisticated consumer lenses. See Jeter v.

  Credit Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985) (holding that, “because we believe that

  the FDCPA's purpose of protecting consumers is best served by a definition of deceive that looks

  to the tendency of language to mislead the least sophisticated recipients of a debt collector's letters

  and telephone calls, we adopt the [] standard of least sophisticated consumer…” (emphasis

  added) (internal quotations and citations omitted)).

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         47.     In light of the preceding, Defendant has violated the FDCPA, to wit,

                 (a)     Section 1692b(3) of the FDCPA by communicating with Plaintiff more than

                         once without the reasonable belief that Plaintiff’s earlier response was

                         erroneous or incomplete and now Plaintiff has the correct or complete

                         information.

                 (b)     Sections 1692d and 1692d(5) by causing Plaintiff’s cellular telephone to

                         ring and/or engage Plaintiff in telephone conversation repeatedly with the

                         intention of annoying and/or harassing Plaintiff, as Plaintiff had repeatedly

                         advised Defendant that it was not the Third-Party and to stop calling;

                         however, Defendant would not stop.

         48.     As a result of Defendant’s aforementioned FDCPA violations, Plaintiff has suffered

  actual damages, including but not limited to mental suffering, anguish, loss of income, and

  personal and/or financial credibility, whereby Plaintiff is entitled to relief for such, in addition to

  statutory damages, attorney’s fee and court costs.

                                    DEMAND FOR JURY TRIAL

         49.     Plaintiff respectfully demands a trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

  Defendant, awarding Plaintiff the following relief:

         (a)     Statutory damages of $500.00 for each TCPA violation determined to be negligent,
                 pursuant to 47 U.S.C. § 227(b)(3)(B);

         (b)     Treble damages of $1,500.00 for each TCPA violation determined to be willful
                 and/or knowing, pursuant to 47 U.S.C. § 227(b)(3)(C);

         (c)     Actual damages for the TCPA violations committed by the Defendant.



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        (d)   An injunction requiring Defendant to cease all unsolicited telephone calling
              activities;

        (e)   Statutory and actual damages, as provided under 15 U.S.C. §1692k, for the FDCPA
              violations committed by Defendant in attempting to collect the Consumer Debt.

        (f)   Costs and reasonable attorneys’ fees as provided by both 15 U.S.C. §1692k;

        (g)   Any other relief that this Court deems appropriate and just under the circumstances.

              DATED: October 30, 2016


                                                Respectfully Submitted,

                                                 /s/ Jibrael S. Hindi                       .
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